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AO 24Sp ,    (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1                                                                                                      FILED
                                                                                                                  EASTERN DISTRICT ARKANSAS

                                     UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas                    JAMES W.                          I   CLERK
          UNITED STATES OF AMERICA                                       Judgment in a Criminal        Ca~l---1--+4.J...J...J---M-::;";'i5';=;'i'i:"Eii7
                             v.                                          (For Revocation of Probation or Supervised Release)
                  FRANK TURNER

                                                                         Case No. 4:05-CR-00196-01-BRW
                                                                         USM No. 23788-009
                                                                          Latrece Gray
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General, Standard & Special of the term of supervision.
0   was found in violation of condition(s)             - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                            Nature of Violation                                  Violation Ended
General                           Unlawful Possession of a Controlled Substance                               03/18/2014
Standard #2                       Failure to submit written reports to probation office                       05/30/2014
Standard #5                       Failure to regulary work at a lawful occupation                             07/24/2014
Special                           Failure to pay restitution                                                  07/24/2014
       The defendant is sentenced as provided in pages 2 through _.....;;.8__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6821                       08/28/2014

Defendant's Year ofBirth:            1977

City and State of Defendant's Residence:

                                                                          BILLY ROY WILSON,                             U.S. District Judge
                                                                                                Name and Title of Judge

                                                                                              (/, 1j ~ ')DI f
                                                                                                          Date
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AO 24!iD   (Re~. 09/11) Judgment in a Criminal Case for Revocations
           Sheet lA
                                                                                              Judgment-Page   _..._2_ of     8
DEFENDANT: FRANKTURNER
CASE NUMBER: 4:05-CR-00196-01-BRW

                                                      ADDmONAL VIOLATIONS

                                                                                                                     Violation
Violation Number               Nature of Violation                                                                   Concluded
Standard #3                     Failure to give truthful answers to probation officer and follow instructions        05/21/2014
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 AO 24SD       (Rei.. 09/11} Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                  Judgment -   Page -~3- of       8
 DEFENDANT: FRANKTURNER
 CASE NUMBER: 4:05-CR-00196-01-BRW


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
74 days.




     r/    The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant particiapte in nonresidential substance abuse treatment during incarceration. The
Court also recommends the defendant participate in any mental health treatment programs available during incarceration.


     r/    The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D     at  - - - - - - - - - D a.m.                         D    p.m.    on
           D     as notified by the United States Marshal.

      D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D     before 2 p.m. on
           D     as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                          to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL



                                                                                  By   ---~~~~~==~~~~~~---­
                                                                                           DEPUTY UNITED STATES MARSHAL
                        Case 4:05-cr-00196-BRW Document 45 Filed 08/28/14 Page 4 of 8
  AO 24$D      (Re'y. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 3 - Supervised Release

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  DEFENDANT: FRANKTURNER
  CASE NUMBER: 4:05-CR-00196-01-BRW
                                                               SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
2 years, with 6 months in a residential re-entry program. All previously imposed conditions of release remain in full force and
effect.


           The defendant must re~rt to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
  r/     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  t/     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this jud~ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                               STANDARD CONDffiONS OF SUPERVISION
   1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
             officer;
   4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
             or other acceptable reasons;
   6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
             convicted of a felony, unless granted penmssion to do so by the probation officer;
   10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
             confiscation of any contraband observed in plain view of the probation officer;
   11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
             enforcement officer;
   12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
             without the permission of the court; ana
   13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
             defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
             notifications and to confirm the defendant's compliance with such notification requirement.
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 AO 24SD    (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3C - Supervised Release

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 DEFENDANT: FRANKTURNER
 CASE NUMBER: 4:05-CR-00196-01-BRW

                                             SPECIAL CONDITIONS OF SUPERVISION

1. Upon release from the Bureau of Prisons, the defendant will reside and participate in a residential re-entry center for a
period of six months and abide by all the rules and regulations of the facility.

2. The defendant will participate under the guidance and supervision of the U.S. Probation Office, in a substance abuse
treatment program and/or residential treatment. Further, the defendant shall abstain from the use of alcohol throughout the
course of treatment.

3. The defendat will participate in mental health counseling under the guidance and supervision of the U.S. Probation
Office.

4. The defendant will disclose financial information upon request of the U.S. Probation Office, including, but not limited to
loans, lines of credit, and tax returns. This also includes records of any businesses with which the defendant is associated.
No new lines of credit shall be establised without prior approval of the U.S. Probation Office.
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 AO 24:;0    (Rj!v. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 5 - Criminal Monetary Penalties

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 DEFENDANT: FRANKTURNER
 CASE NUMBER: 4:05-CR-00196-01-BRW
                                                   CRIMINAL MONETARY PENALTIES

      The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                       Assessment                                                                                          Restitution
 TOTALS          $                                                                                                       $ 5,692.62


 D    The determination of restitution is deferred until
      entered after such determination.
                                                                      ---. An Amended Judgment in a Criminal Case (AO 245C) will be
  D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
      be paid before the United States is paid.

  Name of Payee                                           Total Loss*                               Restitution Ordered                 Priority or Percentage

Bank of Little Rock                                                  $5,692.62                                    $5,692.62




  TOTALS                                     $._ _ _ _.....;;...5:...;;.,6..;.;92;;;.;._62_   $                    5,692.62


  D     Restitution amount ordered pursuant to plea agreement $

  D     The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fi~e is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        t/   the interest requirement is waived for the                  D fine               t/   restitution.

        D the interest requirement for the               D fine                D restitution is modified as follows:


   * Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on
   or after September 13, 1994, but before April23, 1996.
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 AO 24,5D   (R~v. 09/11) Judgment in a Criminal Case for Revocations
            Sheet SA- Criminal Monetary Penalties
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 DEFENDANT: FRANKTURNER
 CASE NUMBER: 4:05-CR-00196-01-BRW

                            ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

1. Restitution payments may be suspended while the defendant is in college, as long as he does credible work.
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AO 24SD      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 6 - Schedule of Payments

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                                                                                                        Judgment- Page _ _            8
DEFENDANT: FRANKTURNER
CASE NUMBER: 4:05-CR-00196-01-BRW

                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    r;/    Lump sum payment of$            5,692.62                    due immediately, balance due

            D not later than                                               , or
            ~ in accordance with           D    C,     D     D,     D E,or        r;/ F below); or
B    D      Payment to begin immediately (may be combined with                    DC,       D D, or    D F below); or

C    D      Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D      Payment in equal             (e.g., weekly, monthly, quarterly) installments of $                    over a period of
           - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E    D      Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    ~ Special instructions regarding the payment of criminal monetary penalties:

         Restitution of $5,692.62 is mandatory and is payable during incarceration. During incarceration the defendant will
         pay 50% of all funds that are available to him. During residential re-entry placement, payments will be reduced to
         ten percent of the defendant's gross monthly income. The interest requirement is waived. Payments may be
         suspended while the defendant is in college, as long as he does credible work.


Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary penalties 1s due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
